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Attorney for Plaintiff


                              UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF IDAHO


SCENTSY, INC., an Idaho Corporation,
                                                        Case No. _ _ _ _ __
                Plaintiff,
                                                        COMPLAINT
vs.
                                                        Fee Category:
KELL YTOY WORLDWIDE, INC., a                            Filing Fee: $
California corporation, and KELL YTOY
(USA), INC. , a California corporation,

                Defendants.


       Plaintiff Scentsy, Inc. (herein, "Scentsy"), pleads and alleges as fo llows:

                                                I.
                                             PARTIES

        1.       Scentsy, Inc. ("Scentsy") is an Idaho corporation with its principal place of

business in Ada County, Idaho.

       2.        On information and belief, Defendant Kellytoy Worldwide, Inc. is a Californ ia

corporation, with its principal place of business in Los Angeles County, California.




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       3.      On information and belief, Defendant Kellytoy (USA), Inc. is a California

corporation, with its principal place of business in Los Angeles County, California.

       4.      On information and belief, Defendants Kellytoy Worldwide, Inc. and Kellytoy

(USA), Inc. (collectively referred to herein as "Defendants" or "Kellytoy") are related entities,

under the same ownership, operation, and control.

                                          II.
                                VENUE AND JURISDICTION

       5.      Jurisdiction is proper in this Court because this litigation arises under federal law,

namely 15 U.S.C . §§ 1116 and 11 21 et seq. (the LanJ1am Act), 35 U.S.C. § 27 1 et seq. (design

patent), 17 U.S .C. § 101 et seq. (copyright), and 28 U.S.C. §§ 133 1 (federal question) and

1338(a) (patents, copyrights, and trademarks). This Comt a lso has jurisdiction under 28 U.S.C.

§§ 1332 (diversity of citizenship) and 1367 (supplemental jurisdiction).

       6.      This Court has personal jurisdiction over Defendants because Defendants, on

information and belief, conduct business in the State ofldaho and within this district, including

advertising and selling products to residents of the State ofldaho, and purposefully availing

themselves of the laws and protection of the State of Idal10.

       7.      Venue is proper in this district under 28 U.S.C. § 139 l (b).

                                           III.
                                  GENERAL ALLEGATIONS

       8.      Since at least 2004, Scentsy has been engaged in the business of selling fragrance

products to the public, throughout the United States. Scentsy products include, inter alia,

fragrance wax, electric wax warmers, fragrance oil s including essential oils, oil diffusers, skin

care, laundry care, and other personal and household fragrance products.




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       9.      In 2010, Scentsy began selling scent paks and stuffed toys with fragrance pouches

known as "Scentsy Buddies"). Scentsy has sold Scentsy Buddies continuously since 2010, and to

date has brought to market more than 144 models of Scentsy Buddies and has so ld more than

$88,000,000.00 worth of Scentsy Buddies throughout the world.

       10.     Since at least 2004, Scentsy has used the mark SCENTSY in commerce in

connection with its sale of all Scentsy products, including Scentsy Buddies.

       11 .    Scentsy has registered a number of trademarks, design patents, and copyrights,

with (respectively) the United States Patent and Trademark Offi ce and the United States

Copyright Office, in an effort to protect Scentsy's intellectual property rights in the Scentsy

Buddies. Those registrations include, but are not limited to, the fo llowing):

                             Applicable
                       Trademark Registration
      Type of          Number (TRN), Patent
                                                                     Protected Image
     Protection           Number (PN), or
                      Copyright Number (CRN)
                        and Re istration Date
                           TRN: 3417399
     Trademark                                                          SCENTSY
                            A ril 29, 2008




                             TRN: 3985480
     Trademark
                             June 28, 2011




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                  PN: US D651 ,260 Sl
     Patent        December 27, 2011

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                   PN: USD701273S 1
     Patent
                    March 18, 2014




                  CRN: VA-1-920-880
    Copyright
                    August 6, 20 14




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       12.     Defendants has had actual or constructive knowledge of Scentsy' s intellectual

property in its Scentsy Buddies since at least 2011 .

       13 .    Notwithstanding Scentsy's established rights in the Scentsy Buddies and

Defendant's knowledge of Scentsy's rights, Defendants have been manufacturing, advertising,

and selling to the public stuffed toys which infringe on Scentsy's intellectual property rights

(herein, the " Infringing Toys"). Defendants have sold Infringing Toys in interstate commerce,

including at the website located at www.kellytoy.com (hereinafter, " Defendant's Website").

        14.    On or about March 26, 20 18, Scentsy sent Defendants a letter notify ing

Defendants that they were infringing Scentsy's intellectual property rights in the Scentsy

Buddies and demanding that Defendants immediately and permanently stop selling the

Infringing Toys. A copy of Scentsy's March 26, 20 18 letter, which includes images of both the

Scentsy Buddies and the Infringing Toys, is attached hereto as Exhibit A.

        15.    On or about November 11 , 20 18, Scentsy discovered that Defendants were

continuing to infringe on Scentsy' s intellectual prope1ty rights in the Scentsy Buddies when a

Scentsy customer brought an Infringing Toy to Scentsy's attention.

        16.    At no time has Scentsy authorized Defendants to use any of the intellectual

property rights in the Scentsy Buddies. Defendants are not affiliated or associated with Scentsy

in any way.

        17.     Because of the wide-spread recognition, distinctiveness, and goodwill of the

intellectual property rights in the Scentsy Buddies, Defendants' infringement is likely to cause

confusion or mistake in the minds of consumers, or are likely to deceive consumers as to the




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affiliation, connection, or association of Defendants' products with Scentsy, and is a violation of

15 U.S.C. § l 125(a).

        18.    Defendants' Infringing Toys has and will continue to cause actual confusion with

and dilution of the distinctive quality of the Mark.

        19.    Defendants' infringement of Scentsy's intellectual property rights in the Scentsy

Buddies is wanton, willful, and has been committed in bad faith with the intent to profit from

Scentsy's goodwill, and with the intent to cause confusion, mistake and deception.

       20.     As a result of Defendants' wrongful acts, Scentsy has suffered, and will continue

to suffer, irreparable injury in the form of lost goodwill, lost income, and injury to its reputation.

No monetary remedy alone would be adequate to compensate Scentsy for the harm that

Defendants' wrongful acts have caused to Scentsy's trademarks, reputation, and goodwill if

Defendants are not enjoined from their wrongful acts.

                                                 IV.
                                     CLAIMS FOR RELIEF

                             A.   FIRST CLAIM FOR RELIEF
                          (Trademark Infringement, 15 U.S.C. §1114)

        2 1.   Scentsy incorporates paragraphs 1 through 20 above as if set forth herein in full.

        22.    Since at least 2004, Scentsy has been the owner of valuable trademarks. Since

20 10, Scentsy has been the owner of trademarks in the Scentsy Buddies.

        23.    Since 2010, all Scentsy Buddies have contained a "patch" on the rear of the

Buddy body, e.g., on the "hip" of those Buddies that have legs. The patch is rectangular, with

two stars on the interior of the rectangle, and two stylized "stiches" on each of the four sides of




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the rectangle. A true and co1Tect photograph of a patch, which is typical of all Scentsy Buddies,

is attached hereto as Exhibit B.

        24.      In 2011, Scentsy registered its first Scentsy-Buddy-specific trademark,

Registration Number 3985480, referenced in the table in paragraph 11 supra. All Scentsy Buddy

trademarks, including but not necessarily limited to the "patch" and Registration Number

3985480 are referred to herein as the "Buddy Marks."

        25.      The consuming public recogni zes the Buddy Marks as being distinctive and as an

identifier of the high-quality goods associated with Scentsy.

        26.      The Buddy Marks have acquired secondary meaning in the minds of the

consuming public.

        27.      Notwithstanding Scentsy's prior rights in the Buddy Marks, Defendants have used

and continue to use, confusingly similar trademarks on the Infringing Toys - goods that are

related to Scentsy' s products and that are sold, offered for sale, distributed, and advertised in

interstate commerce.

        28.       Defendants' use of the Buddy Marks (or confusingly similar trademarks) in

connection with the advertisement and sale of Infringing Toys - products in interstate commerce

- is likely to cause confusion, mistake, or deception as to the origin, sponsorship or approval of

Defendants' goods.

        29.       Defendant's use of the Buddy Marks is also likely to cause initial interest and

other confusion among consumers and potential consumers of Scentsy's goods.

        30.       Defendants' actions constitute trademark infringement in violation of 15 U.S.C.

§ l 125(a).




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       31.     Defendants will continue, unless enjoined, to cause irreparable harm to the

goodwill and reputation of Scentsy.

       32.     Defendants' actions were taken with knowledge of Scentsy' s rights, and thus

constitute deliberate and intentional infringement, justifying an award of treble damages to

Scentsy, pursuant to 15 U.S.C. § 11 17, in an amount to be determined at trial.

                           B.      SECOND CLAIM FOR RELIEF
                                (Common Law Trademark Infringement)

       33.     Scentsy incorporates paragraphs 1 through 32 above as if set forth herein in full.

       34.     Scentsy is the owner of the Buddy Marks, which are recognized by the consuming

public as being distinctive and identifiers of the high-quality goods associated with Scentsy.

       35.     The Buddy Marks are distinctive and have acquired secondary meaning in the

minds of the consuming public.

       36.     Notwithstanding Scentsy's prior rights in the Buddy Marks, Defendants have used

and continue to use, confusingly similar trademarks in connection w ith the advertising and sale

of the Infringing Toys - goods that are related to Scentsy's products in interstate commerce that

have caused confusion and are likely to continue to cause confusion, mistake, or deception as to

the origin, sponsorship or approval of Defendants' goods.

       37.     Defendants' actions constitute common law trademark infringement.

       38.     Defendants will continue, un less enjoined, to cause irreparable harm to the

goodwill and reputation of Scentsy.

                           C.     THIRD CLAIM FOR RELIEF
               (False Designation of Origin, Lanham Act §43(a) (15 U.S.C. §1125(a)))

       39.     Scentsy incorporates paragraphs 1 through 38 above as if set forth herein in full.




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       40.      Defendants' use in commerce of marks that are confusingly similar to the Buddy

Marks in connection with the advertising and sale of Infri nging Toys - goods that are related to

Scentsy' s goods in interstate commerce - is likely to cause confusion, including initial interest

confusion, or to cause mistake, or to deceive the relevant public into believing that the Infringing

Toys are authorized, sponsored or approved by Scentsy.

       41.      Defendants' actions as described herein constitute false designations of origin, in

violation of 15 U.S.C. §11 25(a).

       42.      Defendants will continue, unless enjoined, to cause irreparable harm to the

goodwill and reputation of Scentsy.

        43.     Defendants' actions were taken with knowledge of Scentsy's rights, and thus

constitute deliberate and intentional infringement, justifying an award of treble damages to

Scentsy, pursuant to 15 U.S.C. § 1117, in an an1ount to be detem1ined at trial.

                             D.       FOURTH CLAIM FOR RELIEF
                                          (Patent Infringement)

        44.     Scentsy realleges paragraphs 1 through 43 above and incorporates the same by

reference herein as if set forth in full.

        45.     Scentsy owns United States Design patents D651260Sl and USD70 1273S l listed

above, copies of which are attached as Exhibits C and D ("Scentsy' s Patents").

        46.     On information and belief, Defendants had actual notice of Scentsy' s Patents

and/or constructive notice of Scentsy's Patents pursuant to 35 U.S.C. § 287.

        47.     As the image comparisons shown in Exhibit A reveal, Defendants have

misappropriated Scentsy' s designs in the Infringing Toys.




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        48.     Defendants have infringed and continue to infringe, contribute to the infringement

of, and/or actively induce others to infringe Scentsy' s Patents by making, using, selling, offering

to sell and/or importing in the United States, without authorization from Scentsy, the Infringing

Toys which embody the designs covered by Scentsy' s Patents .

        49.     Defendants' conduct constitutes design patent infringement, either literal or under

the doctrine of equivalents, in violation of 35 U.S.C. §271.

        50.     For example, the Infringing Toys include at least the frustoconical or reverse-

tapered arms and legs as claimed in Scentsy's Patents as illustrated in, for example, the figures

included in both patents. The design of the Infringing Toys is such that, in the eye of the ordinary

observer, the Infringing Toys are substantially the same as the claims of Scentsy's Patents.

        51.     Defendants' actions were taken with knowledge of Scentsy's rights, and thus

constitute willful, deliberate and intentional infringement, justify ing an award of treble damages

to Scentsy, pursuant to 35 U.S.C. §284, in an amount to be determined at trial.


                                E.      FIFTH CLAIM FOR RELIEF
                                          (Copyright Infringement)

        52.     Scentsy realleges paragraphs I through 5 I above and incorporates the same by

reference herein as if set fo1th in ful I.

        53.     As the owner of a copyright in the Scentsy Buddies, Scentsy possesses exclusive

rights in the Scentsy Buddies, including the exclusive rights to reproduce, create derivative

works based upon and publicly distribute copies and derivative works based upon the Scentsy

Buddies.




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         54.      Defendants have infringed and are infringing Scentsy's exclusive rights in the

Scentsy Buddies, via Defendants' Infringing Toys, which are copies and derivative works of the

Scentsy Buddies and which are substantially similar to the Scentsy Buddies, and then selling

Defendants' Infringing Toys fo r profit.

         55.      The manufacturing, advertising, marketing, and selling of Defendants' Infringing

Toys infringe Scentsy copyrights in the Scentsy Buddies, in that:

                  a)     The shape and color of the body of Defendants' Infringing Toys are

substantially similar to the shape and color of the Scentsy Buddies, in that they each are each

conical, with a wide bottom and a narrow top.

                  b)     The design and shape and color of the head and face of Defendants'

Infringing Toys are identical to the design and shape and color of Scentsy Buddies' heads and

faces.

                  c)     The design and shape of the ears of Defendants' Infringing Toys are

identical to the design and shape of the Scentsy Buddies' ears, in that the ears of both toys are

long with pastel purple and pink polka dots on the underside.

                  d)     T he shape of the limbs of Defendants' Infringing Toys are substantially

similar to the shape of the Scentsy Buddies, in that they each are each conical, w ith circular ends,

rather than feet or hands.

                                                  V.
                                         ATTORNEY FEES

         56.      Scentsy realleges and incorporate paragraphs 1 through 55 above as if set fo1ih

herein in full.




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        57.     Defendant' s continued infringement of Scentsy's trademark rights, Lanham Act

rights, patent rights, and copyrights, is done with knowledge and in bad faith, and is in violation

of both federal and Idaho law. As a result, Scentsy has been required to prosecute this action.

Under 15 U.S.C. § 1117 and 17 U.S.C. § 505 and 35 U.S.C. §285, Scentsy is entitled to recover

its costs and reasonable attorneys' fees inctmed in prosecuting this action. Based upon Scentsy 's

experience in litigating such claims, reasonable attorneys' fees in the event that judgment is

entered by default are $ 10,000.00.

                                             VI.
                                      PRAYER FOR RELIEF

        WHEREFORE, Scentsy prays for entry of judgment against Defendants as follows:

        AS TO CLAIMS FOR RELIEF ONE, TWO AND THREE:

        1.      A judgment that Defendants have infringed Scentsy's trademark rights in the

Scentsy Buddies;

        2.      For recovery of Defendants' profits, pursuant to 15 U.S.C. § 1117, the precise

amount to be proven at trial;

        3.      For Scentsy's actual damages, pursuant to 15 U.S.C. §1117, the precise amount to

be proven at trial ;

        4.      For an award of treble damages, pursuant to 15 U.S.C. § 1117, the precise amount

to be proven at tria l;

        5.       For a temporary and preliminary injunction enjoining Defendants and those acting

in privity or concert w ith Defendants from infringing Scentsy's trademark rights in the Scentsy

Buddies by using confusingly simi lar marks, in the advertising or selling of goods, until the

Court has decided the merits of this action; and




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         6.     For a permanent inj unction enjoining Defendants and those acting in privity or

concert with Defendants from using Scentsy's trademarks, or confusingly similar marks, in the

advertising or selling of goods.

         AS TO CLAIM FOR RELIEF FOUR:

         1.     A judgment that Defendants have infringed Scentsy' s Patents;

         2.     For recovery of Defendants' profits pursuant to 35 U.S.C. § 289;

         3.     For an award of damages adequate to compensate for the infringement, including

treble damages, pursuant to 35 U.S .C . § 284, together with interest and costs.

         4.     A judgment declaring this case to be exceptional and awarding Scentsy its

reasonable attorneys' fees pursuant to 35 U.S .C. § 285;

         5.     For a temporary and preliminary injunction enjoining Defendants and those acting

in privity or concert with Defendants from infringing Scentsy's Patents in the advertising or

selling of goods, until the Court has decided the merits of this action; and

         6.     For a permanent injunction enjoining Defendants and those acting in privity or

concert with Defendants from using Scentsy's patented designs in the advertising or selling of

goods.

         AS TO CLAIM FOR RELIEF FIVE:

         1.     A judgment that Defendants have infringed Scentsy's copyright in the Scentsy

Buddies;

         2. For actual damages, pursuant to 17 U .S.C. § 504, the precise amount to be proven at

trial;




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            3. For statutory damages, pursuant to 17 U.S.C. § 504, the precise amount to be proven

at trial;

            4. For a temporary and preliminary injunction enjoining Defendants and those acting in

privity or concert with Defendants from the unauthorized making, using, advertising, and selling

of Defendants' Infringing Toys, until the Court has decided the merits of thi s action; and

            5. For a permanent injunction enjoining Defendants and those acting in privity or

concert with Defendants from the unauthorized making, using, advertising, and selling of

Defendants' Infringing Toys.


            AS TO ALL CLAIMS FOR RELIEF:

            1.     For costs and attorneys' fees incurred by Scentsy in prosecuting this action; and

            2.     For such other and further relief as the Court deems just and proper.



             DATED THIS ~           day of February 2019.

                                                  SCENTSY, INC.




                                                  By    d,r\__ -
                                                       RMaWT. McFarland, ISB No. 7347
                                                       At orney for Plaintiff




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                                  Exhibit A




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                                       SCENTSY




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                                          SCENTSY

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                                  Exhibit B




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                                  Exhibit C




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                                                                                                                             US00D65 l 260S


         c12)    United States Design Patent                                                           ( IO)   Patent No.:                        US D651,260 S
                 Stewart                                                                               (4 5)   Date of Patent:                   **      Dec. 27, 2011

         (54)     TOY ANIMAL                                                                       (74) Attorney, Agent, or Firm - TraskBritt

         (75)     Inven tor:     Julianne Stewart, Meridian, JD (US)                               (57)                  C LAfM
                                                                                                   The ornamental design for a toy animal, as shown and
         (73)     Assignee: Sccntsy, Inc., Meridian, JD (US)
                                                                                                   described.
         (**) Term:              14 Years
                                                                                                                               DESCRIPTION
         (2 1)    Appl. No.: 29/366,404
                                                                                                   FIG. J isaperspcctiveviewofanembodiment ofa toyanimali
         (22)     Filed:         Jul. 23, 2010                                                     illustrated in a seated condition, showing my new design;
         (SI)     LOC (9) Cl.                                      2 1-01                          FIG. 2 is a front view of the toy animal shown in FIG. I ;
         (52)     U.S.CI.                                       D21/652                            FIG. 3 is a rear view· of the toy animal shown in FIG. 1,
         (58)     Field of Classiticatiou Search               D21 / 576,                          wherein a rL-cess compartment located in the back of the
                         D21/596, 652; D6/598; 44 6/72. 97, 268-269                                animal is illustrated in a closed condition;
                  See application file for complete search history.                                FJG. 4 is a first side view of the toy animal shown in FIG. 1;
                                                                                                   FIG. 5 is a second side view of the toy animal shown in FIG.
         (56)                        References Cited                                              1;
                                                                                                   FJG. 6 is a top view of the toy animal shown in FIG. 1;
                             U.S. PATENT DOCUMENTS                                                 FIG. 7 is a bonom view of the toy animal shown in FIG. 1;
                 D 140,492   S   •    2/ 1945   Szrajcr ..         . ............   D21/652        FJG. 8 is a rear view of the toy animal shown in FJG. 1,
                 D298,444    S   •   I 111988   Albert ..........................   D211652        wherein the recess compartment located in the back of the
                 D325,408    S   •    4/ 1992   Williams, Sr................        D211652        animal is illustrated in an open condition; and,
                 D542,364    S   •    S/2007    Oren et al.         .............   D2116S2        FlG. 9 is a front view of the toy animal shown in FJG. 1,
         • cited by examiner                                                                       illustrated in a standing condition.

         Primary l:,,Xaminer - Sandra Morris                                                                            J C laim, S Drawing Sheets




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                                       FIG. 1




                                           FIG.2




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                               FIG. 3




                                                FIG.4




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                         FIG. 5




                                         FIG. 6




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                              FIG. 7




                                         FIG. 8




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                                       FIG. 9




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                                  Exhibit D




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         c12)    United States Design Patent                                          ( IO)   Patent No.:                     US D701,273 S
                 Stewart                                                              (4 5)   Date of Patent:                 **    Mar. 18, 2014

         (54)     TOY ANIMAL                                                                    FOREJGN PATENT DOCUMENTS

         (7 1)    Applicant: Scentsy, Inc., Meridian, JD (US)                    WO               20 120 15832 A2         2/2012

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         (72)     Inventor:       Julianne Stewart, Kuna, ID (US)
                                                                                 Mary Meyer 1995 Catalog, p. 44, Lion.
         (73)     A ssignee: Scentsy, Inc., Meridian, ID (US)
                                                                                 Primary Examiner - Sandra Morris
         (**)     Term:           14 Years
                                                                                 (74) Allorney, Agent, or Firm - TraskBrin
         (21)     Appl. No.: 29/438,886

         (22)     Filed:          Dec.4, 2012
                                                                                 (57)                  CLAfM
                           Re lated U.S. Application Data                        The ornamental design for a toy animal, as shown and
                                                                                 describe d.
         (63)     Co ntinuation of application No. 29/4 17,627, filed o n
                  Apr. S, 2012, now Pat. No. Des. 671,995, which is a
                  continuation of application No . 29/401 ,501 , filed o n
                  Sep. 12, 20 I I . now Pat. No. Des. 658,239, which is a                                   DESCRIPTION
                  continuation of application No . 29/366,404, ftkd o n
                  Jul. 23, 2010, now Pat. No. Des. 651 ,260.                     FIG. I is a perspective view o f a first embodiment of a toy
         (S I)    LOC (10) C l.                                    21-01         animal, illustrated in a seated condition, showing my new
         (52)     U.S.CI.                                                        design;
                                                                                 FIG. 2 is a front view of the toy animal shown in FIG. 1;
                  USPC                               D2.l /600; D2 1/658
                                                                                 FIG. 3 is a rear view of the toy animal shown in FIG. J,
         (58)     Field of Classification Search
                                                                                 wherein a recess compartment located in the back of the
                  USPC           D21 /576, 600, 604, 658- 661; D61598;
                                                   446/72, 97, 268- 269
                                                                                 animal is illustrated in a closed condition;
                                                                                 FIG. 4 is a first side view of the toy anima l shown in FIG. 1;
                  See application file for complete search history.
                                                                                 FIG. 5 is a second side view of the toy animal shown in FIG.
         (56)                       References C ited                            1;
                                                                                 FIG. 6 is a top view o f the toy animal shown in FIG. 1;
                              U.S. PATENT DOCUMENTS                              FIG. 7 is a bottom view of the toy animal shown in FIG. I ;
                                                                                 FJG. 8 is a rear view of the toy animal shown in FIG. J,
                 D 140,492    S      2/ 1945    Azrajcr                          wherein the recess compa rtment locawd in the back of the
                 D l66,05 1   S      21 1952    Secler                           animal is illustrated in an open condition; and,
                 1) 170,008   S      711953     Cooke
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                 1)287,742    S      111987     Bardwell el al.                  illustrated in a standing condition.
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                                       FIG. 1




                                            FIG. 2




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                                            FIG. 3




                                                                                        FIG. 4




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                                 FIG. 5




                                                FIG. 6




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                               FIG. 7




                                           FIG. 8




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                                  FIG. 9




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